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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF NEW YORK

  In re:
                                                                   Chapter 7
                 IN SOOK STERLING
                                                                   Case No. 19-10132-scc
                      Debtors.


   STRATEGIC FUNDING SOURCE, INC.

                      Plaintiff,
            v.

  IN SOOK STERLING,

  MTK 38 INC.,                                                     Adversary Pro. No.    19-01111-
                                                                                         scc

                         and

  JAY ENTERTAINMENT CORP.

                     Defendants.



           NOTICE OF MOTION OF JAY ENTERTAINMENT CORP. TO DISMISS

PLEASE TAKE NOTICE OF THE FOLLOWING:


       1.         On April 15, 2019, Jay Entertainment, filed a motion (the “Motion”) for the

following relief: dismissal for lack of subject matter jurisdiction pursuant to 28 U.S.C. §§ 1334

or 157 or under the permissive abstention provisions of 28 U.S.C. § 1334(c)(1); dismissal

pursuant to FRCP 12 (b)(6).

       2.         A hearing to consider the relief sought in the Motion will be held before the

Honorable Shelley C. Chapman, United States Bankruptcy Judge, United States Bankruptcy
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Court for the Southern District of New York, One Bowling Green, New York, NY 10004-1408,

on May 23, 2019 at 10:00 A.M.

        3.     Responses to the Motion must be made in writing, with a hard copy delivered to

the Chambers of the Honorable Shelley C. Chapman, United States Bankruptcy Court for the

Southern District of New York, One Bowling Green, New York, New York 10004; conform to

the Federal Rules, the Bankruptcy Rules and the Local Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of New York; be filed with the Bankruptcy Court;

and be served in accordance with any Order of this Court on Archer & Greiner, P.C., counsel to

the Defendant, Jay Entertainment, 630 Third Avenue, New York, New York 10017 (Attn:

Michael S. Horn) on or before May 16, 2019 on 4:00 P.M. (the “Response Deadline”).

        4.     If a response is not timely filed and served, the Bankruptcy Court may approve

the Motion and enter an Order on the Hearing Date. Responding parties are required to attend on

the Hearing Date and failure to appear may result in relief being granted or denied upon default.



Dated: New York, New York                    ARCHER & GREINER, P.C.
       May 8, 2019

                                             By: /s/ Michael S. Horn
                                                 Michael S. Horn
                                             630 Third Avenue
                                             New York, New York 10017
                                             Tel: (201) 498-8529
                                             Email: mhorn@archerlaw.com


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